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 Fill in this information to identify the case:
 Debtor              T & M Geriatric Rehabilitation LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         18-41423-RFN                                                                              Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the                    $0.00              $0.00
                                                                claim is: Check all that apply.
Comptroller of Public Accounts
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                TX      78774-0100        Sales Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the               $1,965.71           $1,965.71
                                                                claim is: Check all that apply.
Social Security Administration
                                                                    Contingent
PO Box 3430                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                          PA      19122             Overpayment
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,501.40
                                                                    Check all that apply.
4imprint, Inc.                                                          Contingent
25303 Network Place                                                     Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Chicago                                   IL       60673-1253       Vendor

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
4Site Property Services                                                 Contingent
3505 Leith                                                              Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Fort Worth                                TX       76133            Vendor

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
A-ABC Air of Texas                                                      Contingent
8124 Ithaca St.                                                         Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Houston                                   TX       77017            Vendor

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4     Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,311.86
                                                                    Check all that apply.
Ability Network Inc.                                                    Contingent
Dept CH 16577                                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Palatine                                  IL       60055-6577       Vendor

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $110.00
                                                                Check all that apply.
Acadian Ambulance Service, Inc.                                     Contingent
PO Box 92970                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lafayette                              LA       70509           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
AFCO                                                                Contingent
1932 Wynnton Road                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Columbus                               GA       31999           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.7     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Affinity Carpet Cleaning Inc.                                       Contingent
1123 West Rd., Ste. F                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77038           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.8     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Aflac                                                               Contingent
1932 Wynnton Road                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Columbus                               GA       31999           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.9     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $141.06
                                                                Check all that apply.
Airgas USA LLC                                                      Contingent
259 N Radnor-Chester Rd.                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chadds Ford                            PA       19317           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.10     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Alan Steinmetz                                                      Contingent
11810 Hommond Dr. Apt. 107                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77065           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.11     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Allied World                                                        Contingent
1690 New Britain Ave., Ste. 101                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Farmington                             CT       06032           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.12     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $150.20
                                                                Check all that apply.
Allyson Boyd                                                        Contingent
803 Grenshaw St.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.13    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $994.78
                                                                Check all that apply.
Alwayscare Benefits, INC.                                           Contingent
Dept. 1891 PO Box 2153                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Birmingham                             AL       35287-1891      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.14    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Amera Medical Transportation                                        Contingent
13155 Noel Rd #900                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75240           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.15    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
American Express                                                    Contingent
PO Box 650448                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75265-0448      Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.16    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $62,230.84
                                                                Check all that apply.
Amerigroup RealSolutions                                            Contingent
C/O Lamont, Hanley & Associates, Inc.                               Unliquidated
                                                                    Disputed
PO Box 179
                                                                Basis for the claim:
Manchester                             NH       03105           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.17    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Amy Baugh                                                           Contingent
95 West Drifting Shadows Circle                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
The Woodlands                          TX       77385           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.18    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Amy Smith                                                           Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.19    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Angella Knowles                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.20    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,180.00
                                                                Check all that apply.
Angilia Ramos                                                       Contingent
8735 Cypressbrook                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77095           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.21    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Anisa Owens                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.22    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Annabel Langton                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.23    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Annie Sells                                                         Contingent
5630 Tautenhahn Rd.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77016           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.24    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Annie Smith                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.25    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Antoine Willis                                                      Contingent
6920 TC Jester Blvd.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77091           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.26    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Applied Diagnostics Inc.                                            Contingent
PO Box 421209                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77242           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.27    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ascentium Capital LLC                                               Contingent
23970 Highway 59 North                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77339           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.28    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ascentium Capital, LLC                                              Contingent
c/o Wright Law Group, PLLC                                          Unliquidated
                                                                    Disputed
12620 FM 1960 Road West
Suite A-4, Box 304                                              Basis for the claim:
Houston                                TX       77065           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.29    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Ashiqueali Poonawala, M.D.                                         Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.30    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Ashiqueali Poonawala, M.D.                                         Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.31    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Ashiter Crockett                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.32    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Ashlie Agee                                                        Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.33     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Asif Cochinwala MD PA                                               Contingent
21212 Northwest Freeway, Ste. 375                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cypress                                TX       77429-5890      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.34     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Assurant Employee Benefits                                          Contingent
PO Box 807009                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kansas City                            MT       64184-7009      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.35     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $212.11
                                                                Check all that apply.
AT&T                                                                Contingent
PO Box 5001                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-5001      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.36     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Atkinson Engineers                                                  Contingent
15425 North Freeway, Ste. 140                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77090           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.37    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Avatar Computer Solutions Inc.                                      Contingent
10330 Lake Road, Building L                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.38    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,438.45
                                                                Check all that apply.
Baby Handsborough                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.39    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $992.51
                                                                Check all that apply.
Baudville, Inc.                                                     Contingent
5380 52nd Street SE                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Grand Rapids                           MI       49512           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.40    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Ben E. Keith                                                        Contingent
PO Box 901001                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76140           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.41     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Benjamin Guevara                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.42     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Bennie Ferrell Catering                                             Contingent
2425 West Loop, Ste. 200                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77056           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.43     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $5,485.01
                                                                Check all that apply.
Bestcare Laboratory Services LLC                                    Contingent
202 N.Texas Ave., Ste. 100                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Webster                                TX       77598           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.44     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Bethola Cabble                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.45    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,038.00
                                                                Check all that apply.
Betsie Ramel                                                        Contingent
838 Leather Market St.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77064           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.46    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Beverly Robinson for Verna Gilbert                                  Contingent
4737 Sea Ridge Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76133           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.47    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Biehl & Biehl                                                       Contingent
PO Box 87410                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       60188-7410      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.48    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $3,000.00
                                                                Check all that apply.
Biju Oommen, MDPA                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.49    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Billie Gooch                                                        Contingent
12806 Ravensong Dr.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77429           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.50    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Billy Matthews                                                      Contingent
12307 Garden Laurel Ln.                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77014           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.51    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Bing Entertainment                                                  Contingent
1202 1/2 W. 16th St.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77008           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.52    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,589.40
                                                                Check all that apply.
Biomedical Waste Solutions LLC                                      Contingent
PO Box 1147                                                         Unliquidated
                                                                    Disputed
Dept. 7063
                                                                Basis for the claim:
Port Neches                            TX       77651           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.53    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
BioMonde US LLC                                                     Contingent
747 SW 2nd Ave.                                                     Unliquidated
                                                                    Disputed
Ste. 240, IMB#33
                                                                Basis for the claim:
Gainesville                            FL       32601           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.54    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $8,381.12
                                                                Check all that apply.
Birch Communications, Inc.                                          Contingent
140 Gateway Dr., Ste. A                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Macon                                  GA       31210           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.55    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Blanche Terry                                                       Contingent
4802 Beggs St.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77009           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.56    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Blue Cross and Blue Shield                                          Contingent
PO Box 731428                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75373           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.57    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Blue Cross Blue Shield                                              Contingent
1001 Cross Blue Shield of Texas                                     Unliquidated
                                                                    Disputed
Ste. A02.201
                                                                Basis for the claim:
Richardson                             TX       75082           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.58    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Bluemoon Laundry Equipment                                          Contingent
1326 Willersley Ln.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Channelview                            TX       77530           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.59    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,208.41
                                                                Check all that apply.
Boss & Hughes                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.60    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $203,628.20
                                                                Check all that apply.
Boyd Healthcare LLC                                                 Contingent
8613 Mid Cities Blvd., Ste. 200                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
North Richland Hills                   TX       76182           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.61    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
BPG Skilled Care Development Ltd                                    Contingent
PO Box 2207                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Smith                             AR       72902-2207      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.62    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Brad Thomas Beard, PC                                               Contingent
8613 Mid Cities Boulevard, Suite 200                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
N. Richland Hills                      TX       76182           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.63    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Brenda Braun                                                        Contingent
134 Red Ripple Rd.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous Charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.64    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Brenda Holn                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous Charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.65    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Brenda Whitaker                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous Charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.66    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Brian Lemelin                                                       Contingent
4103 Reynaldo                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77373           Miscellaneous Charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.67    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,079.36
                                                                Check all that apply.
Briggs                                                              Contingent
PO Box 1355                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Des Moines                             IA       50305-1355      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.68    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Brookside Memorial Park                                             Contingent
13747 East Tex Frwy                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77039           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.69      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,742.91
                                                                Check all that apply.
BSD Care, Inc.                                                      Contingent
2915 Ave. K                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Brooklyn                               NY       11210           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.70      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
C. Jean Minck, Attorney at Law                                      Contingent
1520 East Highway 6                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Alvin.                                 TX       77511           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.71      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Callcare                                                            Contingent
PO Box 4651                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lancaster                              PA       17604-4651      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.72      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Careerbuilder.com                                                   Contingent
13047 Collection Center Dr.                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693-0130      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.73    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carita Jackson                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.74    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carla Williams                                                      Contingent
2831 Ivis Valley Way                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77038           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.75    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carlos Palacios MD, PA                                              Contingent
PO Box 11076                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77391           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.76    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carol Marsh for Robert Sudds                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.77     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carolyn Easley                                                      Contingent
11227 Tamworth Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77016           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.78     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Carrie Hillard                                                      Contingent
5511 Honey Mesquite Way                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77494           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.79     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cary Services                                                       Contingent
PO Box 5101                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Abilene                                TX       79608           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.80     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cassie Laughlin                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.81    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Catalina Valdez                                                     Contingent
6603 Sutton Meadows Dr.                                             Unliquidated
                                                                    Disputed
Houston, 77086
                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.82    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Catina Robinson                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.83    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cazetta Phophet                                                     Contingent
5518 Arapahoe                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77020           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.84    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
CBeyond                                                             Contingent
PO Box 848432                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284-8432      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.85    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cecilia Howard for Bettye Burdick                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.86    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Centerpoint Energy                                                  Contingent
PO Box 4981                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4981      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.87    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Centers for Medicare & Medicaid Services                            Contingent
Division of Premium Billing and                                     Unliquidated
                                                                    Disputed
Collection
Mail Stop C3-11-03 PO Box 7520                                  Basis for the claim:
Baltimore                              MD       21207           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.88    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $718.83
                                                                Check all that apply.
Centrad Healthcare, LLC                                             Contingent
184 Shuman Blvd.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Naperville                             IL       60563           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.89     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $3,645.80
                                                                Check all that apply.
Central Business Marketing                                          Contingent
9210 Cypress Creek Pkwy.                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.90     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $85.00
                                                                Check all that apply.
Certification Plus                                                  Contingent
18610 Tomato St.                                                    Unliquidated
                                                                    Disputed
Bldg. D
                                                                Basis for the claim:
Spring                                 TX       77379           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.91     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Champion EMS                                                        Contingent
12521 Fondren Rd. W.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77035-5253      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.92     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Chandra Garrett                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      T & M Geriatric Rehabilitation LLC                                      Case number (if known)      18-41423-RFN

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.93    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Charlotte Grimes for Eva Grimes                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.94    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Charlotte Henson                                                    Contingent
808 Moody                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
League                                 TX       77573           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.95    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cherie McPike                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.96    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Cheryl Moore                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.97    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $4,316.18
                                                                Check all that apply.
Chopra Imaging Centers Inc.                                         Contingent
Dept. 800 PO Box 4346                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4346      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.98    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Chopra Imaging Centers Inc.                                         Contingent
PO Box 301103                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77230-1130      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.99    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Chris Hale & Co., Inc.                                              Contingent
PO Box 8009                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Greenville                             TX       75401           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.100   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Chris McCarn                                                        Contingent
234 Greylake Pl.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
The Woodlands                          TX       77354           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.101    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Chris Walter                                                        Contingent
6735 Greenyard Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77086           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.102    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Citibusiness Card                                                   Contingent
PO Box 78045                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Phoenix                                AZ       85062-8045      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.103    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Clara McCant                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.104    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Clia Laboratory Program                                             Contingent
PO Box 530882                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30353           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.105   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Clyde Bustamento                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.106   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Clyde Johnson                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.107   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
CMS-Medicare                                                        Contingent
532 Riverside Ave.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Jacksonville                           FL       32202           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.108   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $11,143.25
                                                                Check all that apply.
Comcast                                                             Contingent
PO Box 660618                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266-0618      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.109   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $26,564.65
                                                               Check all that apply.
Commerce Bank                                                      Contingent
PO Box 419248                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO       64141-6248     Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number       9     9   8   1               Yes


 3.110   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Commerce Bank-Commercial Cards                                     Contingent
PO Box 808009                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MT       64180          Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.111   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $495.85
                                                               Check all that apply.
CompToday                                                          Contingent
PO Box 27887                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Salt lake City                         UT       84127          Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.112   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Computrition Foodservice Software                                  Contingent
8521 Fallbrook Ave., Ste. 100                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
West Hills                             CA       91304          Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.113    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $307.40
                                                                Check all that apply.
Concentra Medical Centers                                           Contingent
PO Box 9005                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Addison                                TX       75006           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.114    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Concord EMS Inc.                                                    Contingent
PO Box 91159                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77291-1159      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.115    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Conejos Landscaping Maintence                                       Contingent
PO Box 95                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
South Houston                          TX       77587           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.116    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
CPS Security                                                        Contingent
436 West Walnut St.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Gardena                                CA       90248           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.117   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $13,323.97
                                                                Check all that apply.
Custom Medical Solutions                                            Contingent
7100 Northland Circle N #410                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Brooklyn Park                          MN       55428           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.118   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $8,618.55
                                                                Check all that apply.
D&D Medical Equipment Inc.                                          Contingent
2693 South Second St.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cabot                                  AR       72023           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.119   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
D'Best Carpet Care Inc.                                             Contingent
PO Box 7436                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
The Woodlands                          TX       77387           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.120   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dahill                                                              Contingent
655 Richland Hills, Ste. 125                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78245           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.121   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dandam Yachit                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.122   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Danielle King                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.123   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Danny Johnson                                                       Contingent
201 Norview                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.124   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Darlene Serrano for Mary Darby                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.125   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $5,825.95
                                                                Check all that apply.
David Holt                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.126   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
David Sammon                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.127   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dawn Dyer                                                           Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.128   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $349.10
                                                                Check all that apply.
Dawson Company                                                      Contingent
PO Box 21053                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77226           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.129   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dawson Cook for LaDonna Cook                                        Contingent
1111 Fallbrook Dr.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       76038           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.130   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dawson Safe & Lock                                                  Contingent
26309 I-45 North                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
The Woodlands                          TX       77380           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.131   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,401.67
                                                                Check all that apply.
De Lage Landen                                                      Contingent
PO Box 41602                                                        Unliquidated
                                                                    Disputed
Philadelphia, PW 19101-1602
                                                                Basis for the claim:
                                                                Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.132   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
De Lage Landen Financial Services                                   Contingent
111 Old Eagle School Road                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wayne                                  PA       19087-1453      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.133   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Debra Bogany                                                       Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.134   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Delia Johnson                                                      Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.135   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $25.00
                                                               Check all that apply.
Deluxe For Business                                                Contingent
PO Box 742572                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45274-2572       Vendor

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.136   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Deneice Hudson                                                     Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.137   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dennis Abbs                                                         Contingent
PO Box 682412                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77268           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.138   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $50.00
                                                                Check all that apply.
Dexter Simon                                                        Contingent
5818 Beall St.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77091           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.139   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Diagnostic Radiology                                                Contingent
2600 N. Gessner, Ste. 150                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77080           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.140   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Diana Giguere                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.141     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Diana Warner                                                        Contingent
5116 Bissonnet St. #428                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Bellaire                               TX       77401           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.142     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Diane O'Conner                                                      Contingent
1718 River Trail                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Milwaukee                              WI       53223           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.143     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $807.69
                                                                Check all that apply.
Dianne Charles                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.144     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dietitians for Healthcare, LLP                                      Contingent
PO Box 1153                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Bellaire                               TX       77402-1153      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.145   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Direct Supply                                                       Contingent
6767 North Industrial Rd.                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Milwaukee                              WI       53223           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.146   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $3,518.75
                                                                Check all that apply.
DirectTV                                                            Contingent
PO Box 60036                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Los Angeles                            CA       90060           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.147   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
DJ Big Romeo                                                        Contingent
14002 Crestbourne Ct.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77014           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.148   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dominique Nash                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.149   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Don Summers, Tax Assessor-Collector                                 Contingent
PO Box 4622                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4622      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.150   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Donald Rex, DDS                                                     Contingent
12702 North Freeway                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77060           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.151   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Donyelle Robinson for Mozell Mitchell                               Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.152   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dora Johnson                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.153   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dora Johnson                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.154   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dora Kwiatkoski                                                     Contingent
10233 O'Donnell Dr.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.155   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dorothy Greer for Celester Greer                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.156   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Dorothy Rosborough                                                  Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.157    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $145.64
                                                                Check all that apply.
Dottie Vandergriff                                                  Contingent
PO Box 123                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Caldwell                               TX       77836           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.158    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Doug Wooley                                                         Contingent
PO Box 82                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Bew Waverly                            TX       77358           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.159    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $982.66
                                                                Check all that apply.
E Plus Imaging VIII, LP                                             Contingent
PO Box 306155                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Nashville                              TN       37230           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.160    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $2,555.52
                                                                Check all that apply.
Ecolab Equipment Care                                               Contingent
24673 Netweork Place                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60673-1246      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.161   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Edward J. Rhee, M.D.                                                Contingent
PO Box 4346, Dept. 801                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.162   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
EKO Construction Services                                           Contingent
9802 Peachridge                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.163   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Elaine Brock                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.164   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
ELLM Healthcare dba Highland Meadows                                Contingent
9109 Amelia Dr.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Anderson                               TX       77830           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.165   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Elnora Bolden                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.166   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Empire Waste                                                        Contingent
PO Box 670147                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77267           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.167   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Enchanted Construction Inc.                                         Contingent
9109 Amelia Dr.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Anderson                               TX       77830           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.168   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Enchanted Construction Inc.                                         Contingent
9109 Amelia Dr.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Anderson                               TX       77830           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.169    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Encompass Group                                                     Contingent
Dept. 40254                                                         Unliquidated
                                                                    Disputed
PO Box 740209
                                                                Basis for the claim:
Atlanta                                GA       30374-0209      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.170    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Enterprise Refrigeration                                            Contingent
PO Box 90475                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77290           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.171    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Erica Levenson                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.172    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Errol White for Janice White                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.173    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Estate of Ervin Boyd                                                Contingent
11710 Bryonston Dr.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77066           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.174    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Estate of James Rucker                                              Contingent
11922 Elk Springs Dr.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77067           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.175    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Estelle Kimble                                                      Contingent
10546 Bretton Dr.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77016           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.176    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Eva Doxey                                                           Contingent
5997 FM 2012 North                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Overton                                TX       75684           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.177   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,261.19
                                                                Check all that apply.
Eva Grimes                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.178   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Evelyn Chediar                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.179   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Evercare Hospice & Palliative Care                                  Contingent
9702 Bissonnet, Ste. 2200 W                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.180   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Executive EMS LLC                                                   Contingent
2415 Hazyknoll                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77067           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.181   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $259.80
                                                                Check all that apply.
Extreme Mechanical Corporation                                      Contingent
18527 Denise Dale Ln.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77084           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.182   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Facilities Maintenance                                              Contingent
HD Supply Facilities Maintence                                      Unliquidated
                                                                    Disputed
PO Box 509058
                                                                Basis for the claim:
San Diego                              CA       92150-9058      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.183   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $151.00
                                                                Check all that apply.
Facility Solutions Group                                            Contingent
PO Box 952143                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75395-2143      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.184   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Fall Brooks Nursing & Rehab Trust Accoun                            Contingent
1424 Fall Brook Dr.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77038           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.185   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $4,893.45
                                                                Check all that apply.
Fallbrook UD                                                        Contingent
PO Box 680529                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77268-0529      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.186   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Fallbrook Utility District                                          Contingent
PO Box 1368                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Friendwood                             TX       77549-1368      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.187   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Farmeretters                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.188   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $615.39
                                                                Check all that apply.
Fedex                                                               Contingent
PO Box 660481                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.189   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $632.19
                                                                Check all that apply.
Fire Safe Protection Services, LP                                   Contingent
Dept. 620                                                           Unliquidated
                                                                    Disputed
Po Box 1759
                                                                Basis for the claim:
Houston                                TX       77251-1759      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.190   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $8,417.22
                                                                Check all that apply.
First Health Life & Health Texas                                    Contingent
Medicare Concentration                                              Unliquidated
                                                                    Disputed
PO Box 7247-6843
                                                                Basis for the claim:
Philadelphia                           PA       19170-6843      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.191   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $13,304.37
                                                                Check all that apply.
First Medical Respond                                               Contingent
4625 North Freeway, Ste. 213                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.192   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Forrest Sealy                                                       Contingent
8123 Garden Parks Drive                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77075           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.193   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Francesca Mbaba                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.194   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Fred Morris                                                         Contingent
14009 Landfair                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77060           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.195   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Freida Bookman                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.196   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Frost Bank                                                          Contingent
PO Box 34746                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78265           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.197   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Garron Session                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.198   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gemma Burchell                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.199   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Genene Taylor                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.200   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $8,309.11
                                                                Check all that apply.
Generators of Houston                                               Contingent
6106 Milwee Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.201   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,765.51
                                                                Check all that apply.
Genuine Plumbing Services, LLC                                      Contingent
17990 Deer Way                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Conroe                                 TX       77303           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.202   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
George Collins                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.203   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
George Little                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.204   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
GI Specialists of Houston                                           Contingent
PO Box 821389 Dept 1                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77282           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.205   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Giavanni Henry                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.206   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Glayinka Akinfe                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.207   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $46.57
                                                                Check all that apply.
Gloria Carrasco                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.208   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gloria Ramirez                                                      Contingent
222 Harkness                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.209   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gloria Williams                                                     Contingent
103 E. Janisch                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.210   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $3,025.00
                                                                Check all that apply.
Gracefully Nourished Inc.                                           Contingent
1711 Calico Canyon Lane                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pearland                               TX       77581           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.211   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gracen Hawley                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.212   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Grainger                                                            Contingent
Dept 852544725                                                      Unliquidated
                                                                    Disputed
PO Box 419267
                                                                Basis for the claim:
Kansas City                            MO       64141-6267      Services and Materials

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.213   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $2,151.68
                                                                Check all that apply.
Green Mountain Energy                                               Contingent
PO Box 121233                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75312           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.214   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $8,452.25
                                                                Check all that apply.
Greenback Cost Recovery                                             Contingent
PO Box 22656                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77227           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.215   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Guillermo Martinez                                                  Contingent
10115 W. Temple Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77095           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.216   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $16,339.75
                                                                Check all that apply.
Gulf South Medical Supply                                           Contingent
PO Box 841968                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.217   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gwen Henderson                                                      Contingent
5414 Candletree                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77091           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.218   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Gwendolyn Jones                                                     Contingent
408 E. 33rd                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77010           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.219   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $300.00
                                                                Check all that apply.
Harris County Constable                                             Contingent
1001 Preston, Suite 800                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.220   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Harris County Fire Marshal                                          Contingent
7701 Wilshire                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.221   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Harris County Guardianship                                          Contingent
2525 Murworth Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77054           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.222   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Harris County PID                                                   Contingent
10555 Northwest Freeway, Suite 120                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.223   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,211.55
                                                                Check all that apply.
Harvest Fresh Juice, LLC                                            Contingent
PO Box 239                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Hallsville                             TX       75650           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.224   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Haywood Butler                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.225   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
HD Supply Facilities Maintenance, Ltd.                              Contingent
PO Box 509058                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Diego                              CA       92150           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.226   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Health Sync Dental                                                  Contingent
4515 Yoakum Blvd.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77006           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.227   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,140.00
                                                                Check all that apply.
Higginbotham                                                        Contingent
PO Box 908                                                          Unliquidated
                                                                    Disputed
500 W. 13th Street
                                                                Basis for the claim:
Fort Worth                             TX       76102           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.228   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Hilary Beckett                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.229     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
HLS Enterprises of TX                                               Contingent
4600 Wright Road                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Stafford                               TX       77477           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.230     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $300.00
                                                                Check all that apply.
Horn Inservices, Inc.                                               Contingent
2014 Royal Downs                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77450           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.231     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Houston Chronicle                                                   Contingent
PO Box 80085                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Prescott                               AZ       86304           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.232     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Houston Department of Health                                        Contingent
PO Box 300008                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77230           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.233   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Houston Elvis                                                       Contingent
7126 Redding Road                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.234   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Houston North West Medical Center                                   Contingent
PO Box 849782                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.235   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Houston Stat Medical                                                Contingent
PO Box 690654                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77269           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.236   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Howard, Wershbale & Co.                                             Contingent
23240 Chagrin Road, Suite 700                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cleveland                              OH       44122           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.237   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,282.00
                                                                Check all that apply.
HS Providers Inc.                                                   Contingent
4515 Yoakum Blvd.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77006           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.238   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ida Borden-Lewis                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.239   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Internal Revenue Service                                            Contingent
PO Box 21126                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19114           Income Tax

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.240   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Irene Tobin                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.241    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $124.07
                                                                Check all that apply.
Iron Mountain, Inc.                                                 Contingent
PO Box 915004                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75391           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.242    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ivans                                                               Contingent
PO Box 850001                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Orlando                                FL       32885           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.243    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $1,030.14
                                                                Check all that apply.
IWS Gas and Supply of Texas                                         Contingent
125 Thruway Park                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Broussard                              LA       70518-3602      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.244    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
J & J Communications                                                Contingent
7909 Harborside Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77554           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.245     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $400.00
                                                                Check all that apply.
J Kulhanek Inc.                                                     Contingent
PO Box 1368                                                         Unliquidated
                                                                    Disputed
12138 Monticeto Lane
                                                                Basis for the claim:
Stafford                               TX       77477           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.246     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jackie Hawkins                                                      Contingent
20727 Dapples Ridge Way                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77338           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.247     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jackie Hawkins                                                      Contingent
20727 Dapples Ridge Way                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77338           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.248     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
James Davis                                                         Contingent
331 Champions Colony III                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77069           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.249   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
James Johnson                                                       Contingent
8403 Snowbank Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77064           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.250   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
James Loudermilk                                                    Contingent
2034 Oak Glen                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
McGregor                               TX       76657           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.251   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
James Pike                                                          Contingent
7213 Misty Meadow Drive South                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76133           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.252   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
James W. Cunningham, Trustee for                                    Contingent
ProviderX of San Antonio, LLC                                       Unliquidated
                                                                    Disputed
c/o Harris, Finley & Bogle, PC
777 Main Street, Suite 1800                                     Basis for the claim:
Fort Worth                             TX       76102           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.253   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jamie Burnett                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.254   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Janet Betz                                                          Contingent
13914 Tahoe Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Frisco                                 TX       75035           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.255   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Janis Parker                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.256   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jarrar & Company Services, Inc.                                     Contingent
9119 Emmott Road                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.257   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jason C. Smith                                                      Contingent
16966 Northchase Drive #604                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77038           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.258   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jeanette Brown                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.259   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jennie Williams                                                     Contingent
2056 Antoine #340                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77056           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.260   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $611.61
                                                                Check all that apply.
Jeremy Rudgers                                                      Contingent
130 Sweetbriar Lane                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       78936           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.261   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jerry Williams                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.262   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jessie Foroi                                                        Contingent
220 Fichter Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.263   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jimmeta Wyatt                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.264   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
JL Gross & Company                                                  Contingent
12042 Blanco Road, Suite 306                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78216           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.265   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,177.69
                                                                Check all that apply.
John Gordon                                                         Contingent
14209 Cashel Forest Drive                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77069           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.266   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $28.30
                                                                Check all that apply.
Johnnie Johnson                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.267   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Johnny Fortune                                                      Contingent
1834 Laurel Rose Lane                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77014           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.268   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jomar Electrical Contractors                                        Contingent
8515 E. North Belt Line                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Humble                                 TX       77396           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.269   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Jon Shay Franklin                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.270   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $150.00
                                                                Check all that apply.
Jose Cordova                                                        Contingent
8513 Triola Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.271   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $11,500.00
                                                                Check all that apply.
Joseph B. Guerrine MD                                               Contingent
530 N. Sam Houston Parkway E., Suite 230                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77060           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.272   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
Josephine Little                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.273   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Juan Avila                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.274   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
KAC Electrical Services                                             Contingent
9611 Galston Lane                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77379           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.275   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Karen Wormly                                                        Contingent
12202 Currin Forrest                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77044           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.276   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,599.68
                                                                Check all that apply.
KCI USA                                                             Contingent
PO Box 301557                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75303-1557      Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.277   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Keathley Patterson Electric Supply                                  Contingent
7707 South Zero                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Smith                             TX       72903           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.278   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Kennedy, Attorneys & Counselors at Law                              Contingent
12222 Merit Drive, #1750                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75251           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.279   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Kenneth Stewart                                                     Contingent
11955 Steamboat Springs Drive                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77067           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.280   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
KFJ Medical Records Consulting                                      Contingent
22910 Indian Ridge Drive                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77450           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.281   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $950.97
                                                                Check all that apply.
Kirby Restaurant Supply                                             Contingent
809 S. Eastman Road                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Longview                               TX       75602           Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.282   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Kris Covington                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.283   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Kristina Gay                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.284   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Kristine Yaeger-Gay                                                 Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.285   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
La Gala Banquet Hall                                                Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Vendor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.286   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Labor Law Center, Inc.                                              Contingent
12534 Valley View Street, Suite 134                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Garden Grove                           CA       92845-2006      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.287   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Larry Glass                                                         Contingent
10692 Hazelhurst Drive                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77043           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.288   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
LaSundra Morris                                                     Contingent
7450 N. Shepherd Drive, Apt. 1502                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77091           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.289   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Latanna Winn                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.290   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Law Office of Robert D. Akers                                       Contingent
3116 W. 5th Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76107           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.291   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
LC Baker                                                            Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.292   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Leena Chacko MD PA                                                  Contingent
18 Nesting Crane Ct.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Woodlands                              TX       77389           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.293   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lena Mclain                                                         Contingent
621 Fox Run Trail                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Saginaw                                TX       76179           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.294   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Leon Caldwell                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.295   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Leonicia Casarez                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.296   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lescom Plumbing, Inc.                                               Contingent
2010 North Houston Avenue                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Humble                                 TX       77338           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.297   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lezetta Golf                                                        Contingent
829 Enterprizes                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.298   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lillian Johnson                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.299   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Linda Chaney                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.300   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Linda Lesur                                                         Contingent
PO Box 1566                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Missouri City                          TX       77459           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.301   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Linda Trout                                                         Contingent
2403 Meadow Tree Lane                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77388           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.302   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Linsey Whittaker                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.303   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
LJB Consulting Inc.                                                 Contingent
1301 S. Bowen Road, Suite 435                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Arlington                              TX       76013           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.304   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
LLW Consulting, Inc.                                                Contingent
PO Box 16146                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Sugar Land                             TX       77496           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.305    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Loftin Equipment                                                    Contingent
PO Box 10376                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Phoenix                                AZ       85064           Services and Materials

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.306    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $598.61
                                                                Check all that apply.
Logo Stuff Inc.                                                     Contingent
20011 Cherry Oaks Lane                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Humble                                 TX       77346           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.307    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lois Butti                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.308    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lois Powers                                                         Contingent
722 E. 41st Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.309   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lolita Valliere                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.310   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lone Star Audiology Group LLC                                       Contingent
888 Worcester Street                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wellesley                              MA       02482           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.311   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lonestar Eye Care Group                                             Contingent
25 Needham Street                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Newton                                 MA       02461           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.312   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Louetta Dental                                                      Contingent
1811 Louetta Rd                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77388           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.313    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Lyndsay Pitlock                                                     Contingent
14422 Light Falls Court                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cypress                                TX       77429           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.314    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Managed Prescription Program                                        Contingent
10860 N. Mavinee Drive                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Oro Valley                             AZ       85737           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.315    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $750.00
                                                                Check all that apply.
Management & Network Services                                       Contingent
4892 Blazer Parkway                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dublin                                 OH       43017           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.316    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Margaret Charles                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.317   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Margaret McGrew                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.318   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Maria Cruz                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.319   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Maria Silva                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.320   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mariachi Cordova                                                    Contingent
8531 Triola Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.321   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Marian Armstrong                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.322   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Marilyn Glanary                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.323   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Marisol Bravo                                                       Contingent
7211 Northline Drive #817                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.324   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mary A. Curry, MS, RD, LD                                           Contingent
3211 Avondale                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76109           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.325   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mary Ann McKenna                                                    Contingent
399 Airway                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77037           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.326   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mary Hamilton                                                       Contingent
7323 Parkes                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.327   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mary Johnson                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.328   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mary Stucey                                                         Contingent
727 Brushy Glen Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77073           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.329   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mashannon Smith                                                     Contingent
10155 Bammel, Apt 803                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77086           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.330   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,974.75
                                                                Check all that apply.
Matera Paper Company                                                Contingent
PO Box 200184                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78220-0184      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.331   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Maximum Exposure                                                    Contingent
1904 McCleskey Court                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76112           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.332   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mazariegos Humberto                                                 Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.333   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
McDuffie's Mortuary, Inc.                                           Contingent
115 West Hamilton                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.334   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $84,882.53
                                                                Check all that apply.
McKesson Medical Surgical Supply Inc.                               Contingent
PO Box 204786                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320-4786      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.335   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Medbag Company                                                      Contingent
10713 RR 620 N., Suite 516                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78726           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.336   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Medicaid Services Plus, LLC                                         Contingent
504 Arroyo Vista Drive                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Manchaca                               TX       78652           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.337    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Medical Technologies                                                Contingent
401 W. College Street                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lake Charles                           LA       70605           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.338    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $25,227.27
                                                                Check all that apply.
Medicare Part A                                                     Contingent
PO Box 3113                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Mechanicsburg                          PA       17055-1828      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.339    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $72,266.90
                                                                Check all that apply.
Medline                                                             Contingent
Dept. 1080                                                          Unliquidated
                                                                    Disputed
PO Box 121080
                                                                Basis for the claim:
Dallas                                 TX       75312           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.340    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Medline Industries, Inc.                                            Contingent
c/o Greenstein & Kolker                                             Unliquidated
                                                                    Disputed
1006 E. Cesar Chavez Street
                                                                Basis for the claim:
Austin                                 TX       78702           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.341   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Medtran Services, LLC                                               Contingent
10310 Antoine Blvd, Building B                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77086           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.342   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $715.97
                                                                Check all that apply.
Mei Ng                                                              Contingent
20319 Linseed                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77388           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.343   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $7,847.99
                                                                Check all that apply.
Memorial Herman Hospital                                            Contingent
PO Box 201367                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77216           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.344   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $9,658.33
                                                                Check all that apply.
Memorial Hermann Health System                                      Contingent
PO Box 301208                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75303           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.345   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $890.82
                                                                Check all that apply.
Memorial Hermann Health System                                      Contingent
PO Box 301208                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75303           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.346   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Memorial Hermann Medical Group                                      Contingent
PO Box 848662                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Boston                                 MA       02284           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.347   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Michael Krauel                                                      Contingent
4906 Charade Drive                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77066           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.348   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $100.00
                                                                Check all that apply.
Michael W. Hood                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.349   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Michelle Louisville                                                 Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.350   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mickeys Trophy Shop                                                 Contingent
444 Front Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Laurel                                 MS       39440           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.351   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Midlothian Healthcare Center                                        Contingent
900 George Hopper Road                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Midlothian                             TX       76065           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.352   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Minnie Garner                                                       Contingent
4205 Lavendar                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77026           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.353   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mobile Ophthalmic Unit                                              Contingent
PO Box 296                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77492           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.354   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $4,582.63
                                                                Check all that apply.
Mobilex USA                                                         Contingent
PO Box 17452                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Baltimore                              MD       21297-1452      Medical Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.355   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,553.39
                                                                Check all that apply.
MonarqRC                                                            Contingent
8521 Fallbrook Avenue, Suite 100                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
West Hills                             CA       91304           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.356   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Monica Green                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.357   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Mutual of Omaha                                                     Contingent
PO Box 2147                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Omaha                                  NE       68103           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.358   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Nancy N. Gonzalez                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.359   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
National Ambulance Company                                          Contingent
c/o Law Office of Kevin Michaels                                    Unliquidated
                                                                    Disputed
888 Sam Houston Parkway, Suite 226
                                                                Basis for the claim:
Houston                                TX       77042           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.360   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $29,417.08
                                                                Check all that apply.
National Care EMS                                                   Contingent
13228 Brookside Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Sugar Land                             TX       77478           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.361   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $479.90
                                                                Check all that apply.
National Pen Holdings, LLC                                          Contingent
12121 Scripps Summit Drive, Suite 200                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Diego                              CA       82131           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.362   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
NCC Dementia Practioners                                            Contingent
1 A. Main Street, Suite A                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Sparta                                 NJ       07871           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.363   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $160.29
                                                                Check all that apply.
Nephrology Dialysis and Transplantation                             Contingent
1416 La Concha Lane                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77054           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.364   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
New Lifestyles                                                      Contingent
4144 N. Central Expressway, Suite 1000                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75204           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.365   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
New Trident Holdcorp                                                Contingent
PO Box 17462                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Baltimore                              MD       21997           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.366   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,299.00
                                                                Check all that apply.
Nicol N. Scales                                                     Contingent
PO Box 222288                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75222           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.367   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $250.92
                                                                Check all that apply.
Nikia Jones                                                         Contingent
17211 Valhallah Way                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77095           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.368   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Nishawni R. Whiteside                                               Contingent
2421 Avalon Trace Lane                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pearland                               TX       77581           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.369    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Northwest Internal Medicine Specialists                             Contingent
13325 Hargrave, Suite 190                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.370    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Noveline Lewis                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.371    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $1,957.22
                                                                Check all that apply.
Novitas Solution Inc.                                               Contingent
PO Box 3113                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Mechanicsburg                          PA       17055-1828      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.372    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Occupational Health Centers of the South                            Contingent
PO Box 9005                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Addison                                TX       75001           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.373    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ocie Brooks                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.374    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $13,259.10
                                                                Check all that apply.
Odyssey EMS                                                         Contingent
PO Box 671467                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77267           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.375    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $5,600.79
                                                                Check all that apply.
Office Depot                                                        Contingent
PO Box 88040                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60680           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.376    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ola Richardson                                                      Contingent
17027 Vintage Wood Lane                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77379           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.377    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Omnicare Medical Supply                                             Contingent
PO Box 809306                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60680           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.378    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Omnicare Pharmacy                                                   Contingent
PO Box 715268                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Columbus                               OH       43271-5268      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.379    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Omnicare Respiratory Group                                          Contingent
PO Box 848507                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.380    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
One Step Diagnostic                                                 Contingent
11221 Katy Freeway, Suite 201                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77079           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.381   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Orthopaedic Associates                                              Contingent
PO Box 201576                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.382   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Oscar Towns                                                         Contingent
1016 Richelien Lane                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77018           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.383   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Overton Leblanc                                                     Contingent
8923 Sunnywood Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.384   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,395.51
                                                                Check all that apply.
Pamela Atkins                                                       Contingent
12319 Right Oak Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77014           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.385   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pamela Brittain                                                     Contingent
5113 Wentworth                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76132           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.386   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $59.85
                                                                Check all that apply.
Passadena Area Transportation, LP                                   Contingent
PO Box 119                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Baytown                                TX       77522           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.387   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pat Foster                                                          Contingent
4818 Beechaven                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77053           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.388   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $4,481.95
                                                                Check all that apply.
Patient Point Hospital Solutions                                    Contingent
11408 Otter Creek South Road                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Mabelvale                              AR       72103           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.389    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Patricia Elonu                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.390    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Patricia Garner                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.391    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $416.25
                                                                Check all that apply.
Patterson Medical                                                   Contingent
PO Box 93040                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60673           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.392    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Paul L. Jackson                                                     Contingent
PO Box 1616                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77251           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.393   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Paul Wright                                                         Contingent
1342 Twinbrooke Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.394   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Pay Junction                                                        Contingent
1620 Dodge Street                                                   Unliquidated
                                                                    Disputed
Omaha, NE
                                                                Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.395   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Paychex Human Resources Services                                    Contingent
1175 John Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
West Henrietta                         GA       14586           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.396   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Paycom Payroll LLC                                                  Contingent
7501 W. Memorial Road                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Oklahoma City                          OK       73142           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.397   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Payroll Taxes                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.398   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pearl Murray                                                        Contingent
4115 Littleberry Road                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.399   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pearl Walker Jones                                                  Contingent
1038 Mosher Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.400   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pedro Enriguez                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.401   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $956.52
                                                                Check all that apply.
Petetrice Winslow                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.402   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $32,477.09
                                                                Check all that apply.
Pharmacy Care USA of Houston                                        Contingent
PO Box 265                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Hydro                                  OK       73048           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.403   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pharmacy Concepts, Ltd.                                             Contingent
c/o Law Office of Abigail Foreman                                   Unliquidated
                                                                    Disputed
4009 Old Denton Road, Suite 114-312
                                                                Basis for the claim:
Carrollton                             TX       75007           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.404   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $482,013.95
                                                                Check all that apply.
Pharmacy Concepts, Ltd.                                             Contingent
610 Magic Mile Street                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Arlington                              TX       76011           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.405   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Phillippa Roberts                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.406   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Piland Adams and Associates                                         Contingent
PO Box 119                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
La Grange                              TX       78945           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.407   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pittsburph Paints                                                   Contingent
PO Box 676340                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75267           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.408   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Polar Air Corp                                                      Contingent
PO Box 630007                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77263           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.409    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $1,455.63
                                                                Check all that apply.
Positive Promotions                                                 Contingent
15 Gilpin Avenue                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Hauppauge                              NY       11788           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.410    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Pro Steam                                                           Contingent
212 E. Main Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tomball                                TX       77375           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.411    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Procare Orthotics & Prost                                           Contingent
8974 Kirby Drive                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77054           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.412    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Professional Clinical Lab                                           Contingent
3020 Wichita Court                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76140           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.413    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,431.87
                                                                Check all that apply.
Professional Imaging                                                Contingent
6078 Bridgeview Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Ventura                                CA       93003-1126      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.414    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $6,859.24
                                                                Check all that apply.
Prolab                                                              Contingent
3020 Wichita Court                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76140           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.415    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $13,576.63
                                                                Check all that apply.
Providerx of San Antonio                                            Contingent
PO Box 2176                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Forney                                 TX       75126           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.416    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $17.69
                                                                Check all that apply.
Provimed                                                            Contingent
1114 42nd Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Brooklyn                               NY       11219           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.417    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
PSH Holdings                                                        Contingent
780 Deltona Blvd.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Deltona                                FL       32725           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.418    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Quality Picc Plus                                                   Contingent
PO Box 1745                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pearland                               TX       77584           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.419    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rae Feaster                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.420    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ray Baker                                                           Contingent
3203 Lantern Bay Lane                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77449           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.421   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Raymark Air Conditioning & Heating                                  Contingent
PO Box 168                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Porter                                 TX       77365           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.422   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Recover Care                                                        Contingent
6416 Long Avenue, Suite 2                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Shawnee                                KS       66216           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.423   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Red Oak Uniforms & Medical Supply                                   Contingent
850 FM 1960 West, Suite S                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77090           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.424   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Redwood Biotech                                                     Contingent
PO Box 14327                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Santa Rosa                             CA       95402           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.425   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rehabcare Group East, Inc.                                          Contingent
c/o Quiling, Selander, Lownds, et al                                Unliquidated
                                                                    Disputed
2001 Bryan Street, Suite 1800
                                                                Basis for the claim:
Dallas                                 TX       75201           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.426   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $1,910,359.59
                                                                Check all that apply.
RehabCare, Inc.                                                     Contingent
7733 Forsyth Blvd., Suite 1700                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
St. Louis                              MO       63105           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.427   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $2,237.36
                                                                Check all that apply.
Relia Fitzgerald                                                    Contingent
903 South Virginia Street                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Port Lavaca                            TX       77979           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.428   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Reshawnda Pryor                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.429   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $3,475.65
                                                                Check all that apply.
Richard Williams                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.430   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Richard's Safe & Lock                                               Contingent
1424A FM 1960 West                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77090           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.431   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rick Garza                                                          Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.432   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $27.39
                                                                Check all that apply.
Robert J. Cornel, MD                                                Contingent
1315 St. Joseph Parkway, Suite 1700                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.433   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Robert Sudds                                                        Contingent
7210 Northline Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.434   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rod Collins                                                         Contingent
11346 White Gate Lane                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77067           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.435   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rolanda Parker                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.436   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ron Dolford                                                         Contingent
233 Hampton Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Beaumont                               TX       77707           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.437   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ronald Hyatt                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.438   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ronald Palmer                                                       Contingent
1424 Fallbrook Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77073           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.439   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rosa Garcia                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.440   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rose Orosco                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.441    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $647.63
                                                                Check all that apply.
Rose Wiltz                                                          Contingent
3411 Love Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77026           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.442    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Rosetta Wilson                                                      Contingent
6606 Cathcart Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77091           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.443    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
RPS Worldwide                                                       Contingent
3700 34th Street, Suite 130                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Orlando                                FL       32805           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.444    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
RX Catering                                                         Contingent
9127 Stella Link Road                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77025           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.445     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,434.77
                                                                Check all that apply.
Rxperts Pharmacy                                                    Contingent
8700 Jameel Road, Suite 150                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.446     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
S&S Worldwide                                                       Contingent
PO Box 210                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Hartford                               CT       06141           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.447     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sabrina Bates                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.448     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $165.39
                                                                Check all that apply.
Saddlebrook Pharmacy                                                Contingent
25201 Kuykendahl Road, Suite 300                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tomball                                TX       77375           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.449    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sammons Preston                                                     Contingent
PO Box 93040                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60673           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.450    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sandra Goode                                                        Contingent
7722 Breezeway Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.451    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sarah Hunter                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.452    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Scott B. Retzloff & Associates                                      Contingent
PO Box 790830                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78279           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.453   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,078.12
                                                                Check all that apply.
Scott Equipment, Inc.                                               Contingent
5612 Mitchelldale                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.454   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Selena Hawkins                                                      Contingent
1415 West Gulf Bank Road #1605                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.455   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Shalonda Daniel                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.456   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Shameu Spivey                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.457   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Shandra Davis                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.458   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Shanta Neal                                                         Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.459   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sharon Covington                                                    Contingent
1814 Wildbrook Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77038           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.460   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sharon Hyatt                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

 3.461   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Sharon Kirksey                                                     Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.462   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $79.35
                                                               Check all that apply.
Shelly Broussard                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.463   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Shemeika Wilturner                                                 Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.464   Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                               Check all that apply.
Sherri C. Blackwell                                                Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
                                                               Miscellaneous charges

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.465    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $2,276.34
                                                                Check all that apply.
Sherwin Williams                                                    Contingent
11226 Leo Lane                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75229           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.466    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $270.63
                                                                Check all that apply.
SimpleLTC, Inc.                                                     Contingent
2435 N. Central Expressway, Suite 1510                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Richardson                             TX       75080           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.467    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $1,775.81
                                                                Check all that apply.
Skelton Business Equipment                                          Contingent
901 W. Main                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Tomball                                TX       77375           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.468    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Smart Choice Plumbing                                               Contingent
4101 Rice Drier Road                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pearland                               TX       77581           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.469    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $6,000.00
                                                                Check all that apply.
Solutions Medical Group, PLLC                                       Contingent
PO Box 20604                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77225           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.470    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $4,781.34
                                                                Check all that apply.
Southeast Texas Pest Control                                        Contingent
PO Box 390                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Liberty                                TX       77575           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.471    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $1,373.25
                                                                Check all that apply.
Southwaste Disposal LLC                                             Contingent
PO Box 53988                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lafayette                              LA       70505           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.472    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Southwest Regional EMS                                              Contingent
16617 West Hardy Road                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77060           Medical Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.473    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Specialized Medical Services                                        Contingent
7237 Solution Center                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60677           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.474    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $79.95
                                                                Check all that apply.
Stamps.com                                                          Contingent
1990 E. Grand Avenue                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
El Segundo                             CA       90245-5013      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.475    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $583.40
                                                                Check all that apply.
Staples                                                             Contingent
PO Box 95708                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60694-5708      Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.476    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Stasio & Stasio, P.C.                                               Contingent
303 Main Street, Suite 302                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76105           Attorney Fees

Date or dates debt was incurred      04/10/2018                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.477   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Stephanie A. Mars                                                   Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.478   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Stephanie Aleman                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.479   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Stephanie Nuels                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.480   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Stericycle Inc.                                                     Contingent
28161 N. Kieth Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lake Forest                            IL       60045           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.481   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Steve Sisk                                                          Contingent
PO Box 989                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Azle                                   TX       76098           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.482   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $179.38
                                                                Check all that apply.
Stone River Pharmacy Solutions                                      Contingent
PO Box 504591                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Saint Louis                            MO       63150           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.483   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,900.00
                                                                Check all that apply.
Storm-Tex Services                                                  Contingent
19595 Wied Road                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77388           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.484   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $939.07
                                                                Check all that apply.
Streets DME                                                         Contingent
1320 Highway 3 South, Suite C-3                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
League City                            TX       77573           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.485   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Sun Coast Resources Inc.                                            Contingent
PO Box 202603                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.486   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Susan Viviano                                                       Contingent
2514 Willowby                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77008           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.487   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $4,064.32
                                                                Check all that apply.
Tallwood Medical Equipment                                          Contingent
1285 N. Post Oak, Suite 190                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77055           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.488   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
TCC Lease                                                           Contingent
23669 Washington Street                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Independence                           WI       54747           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.489   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ted Thornell                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.490   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Tenny Groaning                                                      Contingent
472 CR 2313                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dayton                                 TX       77535           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.491   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $629,136.81
                                                                Check all that apply.
Terence Boyd                                                        Contingent
1870 South John King Blvd.                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rockwall                               TX       75032           Loan

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.492   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Terri Holloway                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.493   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,250.00
                                                                Check all that apply.
Texas Department of Disability and Aging                            Contingent
PO Box 149030                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78714           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.494   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Texas Firelogix, LLC                                                Contingent
381 Riverwood Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Huntsville                             TX       77320           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.495   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,226.21
                                                                Check all that apply.
Texas Pain Solutions                                                Contingent
11037 FM 1960 W., Suite B1                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77065           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.496   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $65.00
                                                                Check all that apply.
The Austin Artery                                                   Contingent
1416 Elm Brook Drive                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78758           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.497    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
The Rose Foundation                                                 Contingent
201 4th Street, Suite 102                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Oakland                                CA       94607           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.498    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $150.00
                                                                Check all that apply.
The Tony Mac Show                                                   Contingent
3131 FM 2920 Road, Apt. D                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Spring                                 TX       77388           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.499    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Thomas Cooper                                                       Contingent
5812 Irvington Blvd.                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77009           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.500    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Tina Vasquez                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.501   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $1,892.50
                                                                Check all that apply.
Total Fire & Safety                                                 Contingent
7909 Carr Street                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75227           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.502   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Trinka Kaough                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.503   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Triumph Healthcare Finance                                          Contingent
PO Box 1030                                                         Unliquidated
                                                                    Disputed
852 Middle Road
                                                                Basis for the claim:
Bettendorf                             IA       52722           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.504   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Troyetta Lopez                                                      Contingent
10129 Inwood Hollow Lane                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77088           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.505   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
U-Stor Champions                                                    Contingent
13800 Veterans Memorial Drive                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77014           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.506   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ultimate Cleaning                                                   Contingent
15957 Kuykendahi                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77068           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.507   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Ultra Chem Inc.                                                     Contingent
PO Box 3717                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Shawnee Mission                        KS       66203           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.508   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
University General Hospital                                         Contingent
PO Box 223798                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pittsburgh                             PA       15251           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.509    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $6,165.21
                                                                Check all that apply.
UNVM Life Insurance Company of America                              Contingent
PO Box 409548                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30384           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.510    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
US Foods                                                            Contingent
PO Box 840396                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.511    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
US Security Gate, LLC                                               Contingent
16902 Cooper Shore Drive                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77095           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.512    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Val-U-Chem                                                          Contingent
PO Box 82310                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Phoenix                                AZ       85071           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.513   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Valdate Telecom                                                     Contingent
515 A. S. Fry Road, Suite 147                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Katy                                   TX       77450           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.514   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $62,375.00
                                                                Check all that apply.
Valir Health Consultation & Billing Serv                            Contingent
700 NW 7th, Suite 100                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Oklahoma City                          OK       73102           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.515   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Venco                                                               Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.516   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Vennita Cook                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.517   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $375.00
                                                                Check all that apply.
Ventilation Services                                                Contingent
4930 Dacoma Street, Suite K                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.518   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Vicki Randle                                                        Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.519   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Victor Kingston                                                     Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.520   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Virginia Wheelis                                                    Contingent
13615 Shelton Grove Drive                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.521    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Vonco Products, Inc.                                                Contingent
201 Park Ave.                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lake Villa                             IL       60046           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.522    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Walmart                                                             Contingent
PO Box 530927                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30353           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.523    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Wanda Davis                                                         Contingent
12051 Swords Creek                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77067           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.524    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Wanda Williams                                                      Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.525   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Waring Factory Services                                             Contingent
314 Ella T. Grasso Avenue                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Torrington                             GA       06790           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.526   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $169.05
                                                                Check all that apply.
Waste Management of Texas                                           Contingent
PO Box 660345                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.527   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $338.93
                                                                Check all that apply.
Waukesha Pearce Industries                                          Contingent
PO Box 204116                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75320           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.528   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Wellcare Health Plans                                               Contingent
PO Box 8500-7296                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19178           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.529    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Wells Fargo                                                         Contingent
5302 FM 1960 Road West                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77069           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.530    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $21,550.90
                                                                Check all that apply.
Wescom Solutions                                                    Contingent
PO Box 674802                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Detroit                                MI       48267-4802      Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.531    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
William R. Holden, RHIT                                             Contingent
1707 Post Oak Blvd., No. 512                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77056           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.532    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Willowbrook Medical Complex                                         Contingent
13325 Hargrove Road, Suite 180                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77070           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      T & M Geriatric Rehabilitation LLC                                      Case number (if known)      18-41423-RFN

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.533   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $22,014.89
                                                                Check all that apply.
X-Ray X-Press                                                       Contingent
PO Box 301103                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77230           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.534   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Yolanda Campa                                                       Contingent
3907 Parker Road                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77093           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.535   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Yolanda Conner-Smith                                                Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.536   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Yvette Flauta                                                       Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
                                                                Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      T & M Geriatric Rehabilitation LLC                                      Case number (if known)      18-41423-RFN

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.537   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Yvonne Nicolas                                                      Contingent
7113 Gracia Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77076           Miscellaneous charges

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.538   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Zane Enterprises                                                    Contingent
8149 Santa Monica Blvd, Suite 325                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
West Hollywood                         CA       90046           Services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor        T & M Geriatric Rehabilitation LLC                                           Case number (if known)   18-41423-RFN

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Frost Bank                                                            Line
         c/o Adams, Lynch & Loftin, PC                                                Not listed. Explain:
         3950 Highway 360                                                             Notice Only


         Grapevine                     TX      76051-6741




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Debtor      T & M Geriatric Rehabilitation LLC                                Case number (if known)      18-41423-RFN

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                   $1,965.71

5b. Total claims from Part 2                                                              5b.   +          $3,979,781.48


5c. Total of Parts 1 and 2                                                                5c.              $3,981,747.19
    Lines 5a + 5b = 5c.




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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   T & M Geriatric Rehabilitation LLC                                      CASE NO    18-41423-RFN

                                                                                   CHAPTER    7
                                                    AMENDED 5/30/2018
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/30/2018                                           Signature    /s/ Terence N. Boyd
                                                                     Terence N. Boyd
                                                                     President


Date                                                     Signature
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                           Commerce Bank
                           PO Box 419248
                           Kansas City, MO 64141-6248



                           Internal Revenue Service
                           P.O. Box 7346
                           Philadelphia, PA 19101



                           Office of the US Trustee
                           1100 Commerce Street, Rm 976
                           Dallas, TX 75242



                           Office US Attorney
                           801 Cherry St, Ste 1700
                           Burnett Plaza Unit 4
                           Ft Worth TX 76102-6882


                           Terence Boyd
                           1870 South John King Blvd.
                           Rockwall, TX 75032
